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 8                                UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       Case No. 2:10-cr-00210-WBS
12                  Plaintiff,                       ORDER GRANTING MOTION TO
                                                     DISMISS CHARGES AS TO DONNA
13          v.                                       ROSENAU
14
     ROBERT E. ROSENAU, and
15
     DONNA M. ROSENAU
16
                    Defendants.
17

18          On July 25, 2012, Plaintiff the United States of America filed a motion under Federal

19   Rules of Criminal Procedure, rule 48(a) to dismiss the charges in the indictment as to defendant

20   DONNA M. ROSENAU and to exonerate her bail. Also on July 25, 2012, defendant DONNA

21   M. ROSENAU filed a non-opposition and a waiver of hearing on the Plaintiff’s motion. Based

22   on the motion and the defendant’s non-opposition, the Court now GRANTS the Plaintiff’s motion

23   to dismiss the charges in the indictment as to defendant DONNA M. ROSENAU. Bail is

24   exonerated as to DONNA M. ROSENAU.

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                                                  Dated: August 2, 2012
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